   Case: 3:16-cv-50310 Document #: 99 Filed: 03/05/19 Page 1 of 10 PageID #:943



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               WESTERN DIVISION




NATIONAL INSTITUTE OF FAMILY                      )
AND LIFE ADVOCATES, et al.,                       )
                                                  )
              Plaintiffs,                         )
                                                  )
                                                  )
              v.                                  )
                                                  )      No. 16 CV 50310
                                                  )
                                                  )
BRYAN A. SCHNEIDER                                )      Judge Frederick J. Kapala
                                                  )
                                                  )      Magistrate Judge Iain D. Johnston
              Defendant.                          )



    PLAINTIFFS’ FED. R. CIV. P 72(a) OBJECTIONS TO THE UNITED STATES
    MAGISTRATE JUDGE’S DISPOSITION OF PLAINTIFFS’ MOTION TO STAY
          DISCOVERY AND MOTION FOR SUMMARY JUDGMENT

       The Plaintiffs National Institute of Family and Life Advocates d/b/a NIFLA; Tri-County

Crisis Pregnancy Center, d/b/a Informed Choices; The Life Center, Inc., d/b/a TLC Pregnancy

Services; and Mosaic Pregnancy & Health Centers, by and through their undersigned attorneys,

respectfully submit this Federal Rule of Civil Procedure 72(a) Objection to the United States

Magistrate Judge’s disposition of their Motion to Stay Discovery (ECF. No. 95 (filed Feb. 11,

2019)) and Motion for Summary Judgment (ECF. No. 90 (filed Jan. 29, 2019)). ECF No. 97 (Feb.

19, 2019).




                                             1
    Case: 3:16-cv-50310 Document #: 99 Filed: 03/05/19 Page 2 of 10 PageID #:944



                     FACTUAL AND PROCEDURAL BACKGROUND

       Plaintiffs’ Verified Complaint seeks declaratory and injunctive relief against Senate Bill

1564 (“SB 1564”), an amendment to the Illinois Healthcare Right of Conscience Act (“HCRCA”),

which requires medical professionals who do not want to provide or refer for abortions to speak

about the “benefits” of abortion to patients. It further requires medical professionals to provide

women a list of doctors who may perform abortions if a woman inquires about abortion. On July

19, 2017, this Court preliminarily enjoined the enforcement of SB 1564, holding that Plaintiffs had

demonstrated a likelihood of success on their First Amendment Free Speech claim. ECF No. 65.

       Following the issuance of the preliminary injunction, this case was stayed pending the

outcome of the Supreme Court’s decision in National Institute of Family and Life Advocates v.

Becerra (“NIFLA”), No. 16-1140. See Order Granting Unopposed Motion to Stay Proceedings,

ECF No. 78. On June 26, 2018, the Supreme Court issued its ruling in NIFLA, holding that a

California law compelling pro-life pregnancy centers to engage in speech promoting abortion

likely violates the Free Speech Clause. 138 S.Ct. 2361 (2018). This case was then continued on

July 31, 2018 at the status conference. ECF No. 82. Written discovery closed on October 31, 2018.

       On January 29, 2019, Plaintiffs filed their Motion for Summary Judgment. ECF No. 90. At

that time, Defendant had not noticed a single deposition, though discovery had been open for

approximately 8.5 months, including the time before (October 3, 2017–December 15, 2017) and

following the stay (July 31, 2018–January 29, 2019). Defendant has not noticed any depositions

in the four months since the close of written discovery on October 31, 2018. Shortly after Plaintiffs

filed their summary judgment motion, Plaintiffs filed their Motion to Stay Discovery Pending

Resolution of Plaintiffs’ Motion for Summary Judgment. ECF No. 95 (filed Feb. 11, 2019). On

February 19, 2019, the Magistrate Judge denied Plaintiffs’ motion to stay discovery and deferred



                                                 2
    Case: 3:16-cv-50310 Document #: 99 Filed: 03/05/19 Page 3 of 10 PageID #:945



Plaintiffs’ motion for Summary Judgment indefinitely. ECF No. 97 (Feb. 19, 2019). Plaintiffs

object to this order.

                                         ARGUMENT

        This Court reviews an objection to the Magistrate Judge’s disposition of a nondispositive

matter under a “clearly erroneous” or “contrary to law” standard of review. FED. R. CIV. P. 72(a).

This Court can set aside or modify a decision of a Magistrate Judge if “it contains some clearly

apparent mistake.” F.T.C. v. Pacific First Benefit, LLC, 361 F. Supp. 2d 751, 754 (N.D. Ill. 2005).

        Motions for summary judgment may be filed “at any time until 30 days after the close of

all discovery.” FED. R. CIV. P. 56(b). Plaintiffs filed a Motion for Summary Judgment on January

29, 2019, followed by a Motion to Stay Discovery on February 11, 2019. This Court may, “for

good cause,” limit discovery to “protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense.” FED. R. CIV. P. 26(c)(1). “Before restricting discovery,

the court should consider the totality of the circumstances, weighing the value of the material

sought against the burden of providing it and taking into account society’s interest in furthering

the truthseeking function in the particular case before the court.” Patterson v. Avery Dennison

Corp., 281 F.3d 676, 681 (7th Cir. 2002) (internal quotations omitted).

        In a 42 U.S.C. § 1983 action such as this one, the Court may deny discovery where the

material facts are not in dispute. Reynolds v. Jamison, 488 F.3d 756, 762 (7th Cir. 2007). As

discussed in Plaintiffs’ Memorandum in Support of Motion for Summary Judgment, there remain

no factual disputes in this case, only issues of law. See ECF No. 91 at 2. A stay of discovery

obligations under Federal Rule of Civil Procedure 26 is necessary because Plaintiffs’ Motion for

Summary Judgment raises pure questions of law and, if granted, the motion would terminate

litigation.



                                                3
    Case: 3:16-cv-50310 Document #: 99 Filed: 03/05/19 Page 4 of 10 PageID #:946



       Defendant stated at the February 19, 2019 hearing that it desired further discovery, and

therefore opposed Plaintiffs’ Motion to Stay Discovery. Transcript of Feb. 19, 2019 Hearing at 3–

4 (attached as Exhibit A). Under Rule 56, “[i]f a nonmovant shows by affidavit or declaration that,

for specified reasons, it cannot present facts essential to justify its opposition, the court may: (1)

defer considering the motion or deny it; (2) allow time to obtain affidavits or declarations or to

take discovery; or (3) issue any other appropriate order.” FED. R. CIV. P. 56(d). The Seventh Circuit

has held that “[w]hen a party is unable to gather the materials required by Rule 56(e), the proper

course is to move for a continuance” under Rule 56(d). Farmer v. Brennan, 81 F.3d 1444, 1449

(7th Cir.1996) 1. Defendant did not follow the procedure required by Rule 56(d), but instead merely

stated that further discovery was desired. The Magistrate Judge then sua sponte deferred

consideration of Plaintiffs’ Motion for Summary Judgment and denied Plaintiffs’ Motion to Stay

Discovery, without requiring Defendant to follow the procedure outlined in Rule 56(d). Exh. A at

7. This action was therefore contrary to law.

       I.      The Supreme Court’s decision in NIFLA v. Becerra is dispositive and further
               discovery is unnecessary.

       This Court granted Plaintiffs’ Motion for Preliminary Injunction on July 19, 2017. ECF

No. 65. In doing so, this Court held that “plaintiffs have demonstrated a better than negligible

chance of showing that Illinois has multiple options less restrictive than compelling those with

conscience-based objections to abortion to communicate to a patient that abortion is a legal

treatment option as well as the information she will need to obtain an abortion.” See Order of Mot.

for Prelim. Inj., ECF No. 65 at 8. Following the preliminary injunction order, the case was stayed

pending the decision in NIFLA, due to the fact that NIFLA would be dispositive in this case. Order


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 This passage in Farmer specifically cites to former Federal Rule of Civil Procedure 56(f), which
has since been renumbered to 56(d). See, e.g. Tolonen v. Heidorn, 599 Fed. Appx. 591, 593 (7th
Cir. 2015) (noting that Rule 56(f) is now 56(d)).
                                                  4
    Case: 3:16-cv-50310 Document #: 99 Filed: 03/05/19 Page 5 of 10 PageID #:947



Granting Unopposed Motion to Stay Proceedings, ECF No. 78 (Dec. 15, 2017). As Plaintiffs noted

in their motion to stay, the legal claims and the facts involved in NIFLA are substantially similar

to those involved in this case, and “[b]ecause the Supreme Court will be considering these facts in

the context of a compelled speech claim, its decision in [NIFLA] will almost certainly inform the

way this Court will analyze and rule on the merits of the First Amendment claim at issue in this

case . . . .” See Mot. to Stay Proceedings Pending Resolution in Appeal of NIFLA v. Becerra, ECF.

No. 74 at 3. The Supreme Court issued its opinion in NIFLA on June 26, 2018.

       NIFLA concerned a California law that required pro-life pregnancy centers (similar to

Plaintiffs here) to provide a disclosure referring to state-sponsored abortion services. Id. at 2368–

69. The Court held that this provision was content-based and likely violates the First Amendment

even under intermediate scrutiny. Id. at 2376. In particular, the Court held that the law was not

narrowly tailored to its alleged interest in “educat[ing] low-income women about the services”

provided by California because: (1) the law was “wildly underinclusive” where it applied only to

pro-life pregnancy centers, and not to other medical providers offering services to low-income

women; and (2) the state of California could have informed women of state services rather than

“burdening a speaker with unwanted speech.” Id. at 2375–2376 (internal citations and quotation

marks omitted). On remand, the State of California agreed to a permanent injunction against the

challenged law. See NIFLA, Order Granting Permanent Injunction, No. 3:15-cv-02277-JAH-RNB,

ECF. No. 76 (S.D. Ca. Oct. 26, 2018). Shortly thereafter, the State of Hawaii agreed to a permanent

injunction against its substantially similar law following the NIFLA decision. See Order Granting

Permanent Injunction, Calvary Chapel Pearl Harbor v. Chin, No. 1:17-cv-00326-DKW-RT, Ecf.

No. 53 (D. HI. Sept. 20, 2018).




                                                 5
    Case: 3:16-cv-50310 Document #: 99 Filed: 03/05/19 Page 6 of 10 PageID #:948



       Like the law at issue in NIFLA, SB 1564 here requires pro-life pregnancy centers and

medical professionals to provide information on abortion services, and is unconstitutional both

facially and as applied pursuant to NIFLA. Because NIFLA is controlling on the question of

whether SB 1564 violates the First Amendment, Plaintiffs maintain that further discovery is no

longer necessary in this case. Plaintiffs believe that continuing discovery would impose undue

discovery burdens in an effort to obtain information irrelevant to resolving this case.

       Plaintiffs filed their Motion for Summary Judgment following the close of written

discovery because NIFLA decided the precise constitutional question at issue here. All matters

remaining are exclusively issues of law, which this Court may decide via summary judgment.

Moreover, the Court may deny further discovery where the material facts are not in dispute.

Reynolds, 488 F.3d at 762. As discussed in Plaintiffs’ Memorandum in Support of Motion for

Summary Judgment, no factual disputes remain. See ECF No. 91 at 2. Summary judgment is

therefore appropriate at this time, and further discovery is unnecessary and unduly burdensome.

       II.     Rule 56(d) requires Defendant to identify specific reasons why further
               discovery is necessary via affidavit or declaration prior to the Court deferring
               consideration of Plaintiffs’ Motion for Summary Judgment.

       Under Rule 56, “[i]f a nonmovant shows by affidavit or declaration that, for specified

reasons, it cannot present facts essential to justify its opposition, the court may: (1) defer

considering the motion or deny it; (2) allow time to obtain affidavits or declarations or to take

discovery; or (3) issue any other appropriate order.” FED. R. CIV. P. 56(d). “When a party is unable

to gather the materials required by Rule 56(e), the proper course is to move for a continuance”

under Rule 56(d). Farmer, 81 F.3d at 1449. Such a motion “must state the reasons why the party

cannot adequately respond to the summary judgment motion without further discovery and must

support those reasons by affidavit.” Deere & Co. v. Ohio Gear, 462 F.3d 701, 706 (7th Cir. 2006)

(internal citations omitted). “In its affidavit, the party must demonstrate ‘how postponement of a
                                                 6
    Case: 3:16-cv-50310 Document #: 99 Filed: 03/05/19 Page 7 of 10 PageID #:949



ruling on the motion will enable [it], by discovery or other means, to rebut the movant’s showing

of the absence of a genuine issue of fact.’” OneBeacon Insurance Co. v. U.S. Foods, Inc., 304

F.R.D. 536, 540 (N.D. Ill. 2014) (quoting Korf v. Ball State Univ., 726 F.2d 1222, 1230 (7th Cir.

1984). Moreover, “the evidence the non-movant seeks must be relevant to his case.” Id. (citing

Grayson v. O'Neill, 308 F.3d 808, 816 (7th Cir.2002)).

        At the February 19 hearing, Defendant’s counsel stated that further discovery was

necessary. Exh. A at 3–4. Defendant’s counsel represented that it desired deposition testimony of

at least those Plaintiffs that had submitted declarations, and possibly more. Id. However, Defendant

did not file a motion for continuance, and has not provided testimony via either affidavit or

declaration “that, for specified reasons, it cannot present facts essential to justify its opposition” to

Plaintiffs’ Motion for Summary Judgment. FED. R. CIV. P. 56(d). Defendant had from October 3,

2017 through December 15, 2017 and from July 31, 2018 until the present to obtain deposition

testimony, but failed to schedule even a single deposition during that time. Defendant’s complete

failure to diligently pursue discovery improperly prejudices the Plaintiffs. Moreover, the testimony

contained in the declarations submitted in support of Plaintiffs’ Motion for Summary Judgment

was concise, short, and contained only very limited additional facts. ECF No. 92, Exh. I

(Declaration of Kathleen Lesnoff); Exh. J (Declaration of Sarah VanDerLip); and Exh. K

(Declaration of Vivian Maly). If Defendant believes it requires additional facts to justify its

opposition to Plaintiffs’ Motion for Summary Judgment, he must specifically list the reasons why

in an affidavit or declaration. Rule 56(d) “is not a shield that can be raised to block a motion for

summary judgment without even the slightest showing by the opposing party that his opposition

is meritorious.” Korf, 726 F.2d at 1230 (internal citations omitted).




                                                   7
    Case: 3:16-cv-50310 Document #: 99 Filed: 03/05/19 Page 8 of 10 PageID #:950



       The Magistrate Judge did not require Defendant to adhere to Rule 56(d), and sua sponte

deferred Plaintiffs’ Motion for Summary Judgment. Exh. A at 7. This action was a “clearly

apparent mistake” and contrary to law. See Pacific First Benefit, LLC, 361 F. Supp. 2d at 754. This

Court should therefore set aside or modify the Magistrate Judge’s decision.

       III.    The burden and expense of discovery outweighs any benefit of further
               discovery.

       The burden and expense of discovery outweighs its benefits, and therefore must be stayed.

Because only pure legal issues remain, discovery is unnecessary. If discovery is not stayed,

Plaintiffs will be subjected to several depositions located throughout Illinois, and possibly at least

one deposition in Virginia. Plaintiffs would also likely need to retain a rebuttal expert. Plaintiffs

will incur significant travel expenses, in addition to the significant expense involved with taking

and defending depositions. Moreover, Defendant has repeatedly insisted that it desires expert

testimony (even though such testimony is unnecessary to the resolution of the questions of law this

Court can already resolve based on the undisputed facts and face of the law in question), and

Plaintiffs will therefore be required to provide a rebuttal expert witness. Pushing consideration of

Plaintiffs’ Motion for Summary Judgment out even further until the end of unnecessary and unduly

burdensome expert discovery would further prejudice Plaintiffs’ motion and risk pushing

consideration of the motion out many more months. Because all issues remaining are issues of

law, further discovery is unnecessary, expensive, and overly burdensome.

       Courts have stayed or limited discovery in First Amendment matters in an effort to avoid

unnecessary burdens on free speech. For example, the United States District Court for the District

of Columbia has recognized that “the threat to the First Amendment is sufficient good cause to

stay the discovery process pending resolution of a dispositive motion,” and that an order staying

discovery was proper in order to “avoid the time and expense of responding to inquiries that will


                                                  8
    Case: 3:16-cv-50310 Document #: 99 Filed: 03/05/19 Page 9 of 10 PageID #:951



have no effect on the resolution of the forthcoming motion.” Moldea v. New York Times Co., 137

F.R.D. 1, 1–2 (D.D.C. 1990).

       Because discovery is unnecessary, it would unfairly prejudice Plaintiffs to impose the time

and costs of discovery on them before the dispositive motion is resolved. Plaintiffs therefore

respectfully request that this Court stay further discovery pending resolution of Plaintiffs’ Motion

for Summary Judgment, and schedule the Motion for Summary Judgment for a hearing.

       Respectfully submitted this 5th day of March, 2019,

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   Case: 3:16-cv-50310 Document #: 99 Filed: 03/05/19 Page 10 of 10 PageID #:952



                                CERTIFICATE OF SERVICE

       I hereby certify that on March 5, 2019, I electronically filed the foregoing paper with the

Clerk of Court for the by using the ECF system which will send notification of such filing to the

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